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AO 91 (Re    08/09) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Western District of Texas                         2018   S
                                                                                                                        '3
                     United States of America
                                                                                                                               '''
                                                                                                                               A'.(
                                                                                                                                      0:3
                                  V.
                  VILLANUEVA-Mendoza, Liliana                                 Case No.                  ?



                       BANUELOS, Oscar

                                                                                                                                      r-Wa,)
                              De/endant(s)



                                                          CRIMINAL COMPLAINT

            1,   the complainant in this case, state that the following is true to the best    of my knowledge         and   belief

On or about the date(s)        of             SeptemQO1                       in the county   of                   El Paso              in the

      Western             District of             Texas              the defendant(s) violated:

             Code Section                                                       0/tense Description
 8 U.S.C. 1324 (a)(1)(A)(v)(l),                   knowingly, intentionally, and  unlawfully conspired, combined, confederated,
 (a)(1)(A)(ii) and (a)(1)(B)(i)                   and agreed together, and with others known and unknown, to commit
                                                  offenses against the united States, namely: knowing and in reckless
                                                  disregard of the fact that an alien has come to, entered, and remained in the
                                                  United States in violation of law, did transport, move, and attempt to transport
                                                  and move such alien within the United States by means of transportation and
                                                  otherwise, in furtherance of said violation of law, for the purpose of
                                                  commercial advantage and private financial gain.


            This criminal complaint is based on these facts:




                  Continued on the attached sheet.



                                                                                                    Complainant 's signature

                                                                                           EliasContreras,         HSpcja[gent
                                                                                                     Printed name and title


 Sworn to before me and signed in my presence.


 Date:                09/23/2019
                                                                                                       Judge s signature


 City and state:                             El     Texas                                Miguel A. Torres,
                                                                                                    Printed ,,aine and title
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                                           AFFIDAVIT

On September 20, 2019, at approximately 2:00 a.m., a Border Patrol Agent (BPA) was
conducting surveillance in an unmarked unit near the intersection of Boone St. and Delta Dr. in
El Paso, Texas. The BPA observed a white Ford Crown Victoria enter the neighborhood and turn
in and around several streets in the area. The vehicle turned into a dead-end street and the BPA
observed the vehicle's headlights and tail lights turn on and off twice. This is a common tactic
pick up drivers use to alert illegal aliens (IA) who their transport vehicle is so they can approach
it. The BPA observed a male subject scale the fence of a nearby water treatment plant, fall on his
side and proceed to run towards the BPA's location. The BPA approached the subject, identified
himself as a BPA and determined the subject was a citizen and national of Ecuador without any
documents allowing him to be or remain in the United States (U.S.) legally. Shortly thereafter,
other BPAs who were in the area approached the white Ford Crown Victoria, who had
previously flashed its lights prior to making the arrest of the IA. Agents identified themselves as
BPAs and questioned the driver to his reasoning for being in the area. The driver, later identified
as Oscar BANUELOS, stated that he was there waiting to go to work at the El Paso County
Coliseum and that his shift started at 5:00 a.m. BPAs noticed BANUELOS was receiving
 several phone calls from a subject named "Dylan". a phone number from Ciudad Juarez, Mexico
and a phone number from New Mexico. BPAs read BANUELOS his Miranda rights.
BANUELOS stated that he and his wife, later identified as Liliana VILLANUEVA-Mendoza,
got into an argument and he decided to leave. BANUELOS stated he lives in the Vinton, Texas
area and maintained he was there waiting for the start of his shift, now stating his shift started at
7:00 a.m. BPAs detained BANUELOS for suspicion of being involved in alien smuggling.

At approximately 3:10 a.m., while waiting on BANUELOS and the IA to be transported to the
Paso Del Norte Processing Center (PDT) for further questioning, BPAs witnessed two subjects
run across the street north of the BPA's location and board a brown Buick that was sitting in that
area. As the vehicle proceeded to leave the area, BPAs stopped the vehicle, identified
themselves as BPAs and determined the driver, VILLANUEVA-Mendoza, was a citizen of
Mexico and a Lawful Permanent Resident (LPR) of the U.S. The two subjects in the back seat
were determined to be citizens and nationals of Ecuador without any documents allowing them
to be or remain in the U.S. legally. VILLANUEVA-Mendoza and the two lAs were placed
under arrest and transported to PDT for further processing and disposition.

While at PDT, BPAs read VILLANUEVA-Mendoza her Miranda rights. VILLANUEVA-
Mendoza stated she understood her rights and was willing to speak with BPAs without an
attorney present. VILLANUEVA-Mendoza admitted she was there to pick up the lAs and she
was going to be paid $150 to transport them to a McDonald's. VILLANUEVA-Mendoza further
admitted she was aware that the subjects in her vehicle were lAs. VILLANUEVA-Mendoza
stated a subject named Dylan RENTERIA, the same subject that was calling BANUELOS, had
sent her to pick up the lAs. VILLANUEVA-Mendoza admitted BANUELOS was her husband
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and he was also working for RENTERIA picking up lAs that had just illegally crossed the
U.S ./Mexico international boundary. VI LLANU EVA.-Mendoza admitted she recruited
BANUELOS to help her pick up lAs. VILLANUEVA-Mendoza said she communicated with
RENTERIA via Facebook and WhatsApp and gave BPAs consent to search her cell phone.

While searching VILLANUEVA-Mendozas cell phone, agents noticed VILLANUEVA-
Mendoza had a conversation in WhatsApp with RENTERIA starting the night before. In the
conversation, RENTERIA asked VILLANUEVA-Mendoza to have BANUELOS call him as
they usually work after midnight. Instead, VILLANUEVA-Mendoza provided him
BANUELOS' phone number. VILLANUEVA-Mendoza said she also gave BANUELOS
instructions to contact RENTERIA. At approximately 2:44 a.m., the WhatsApp conversation
showed RENTERIA advise VILLANUEVA-Mendoza that BANUELOS had not picked up the
IA and he believed BPAs had apprehended BANUELOS. VILLANUEVA-Mendoza then tells
RENTERIA to send her the lAs location so she can pick him up. RENTERIA sent a pin-drop
GPS map location, which was the area where BANUELOS, VILLANUEVA-Mendoza, and IA's
were apprehended.

VILLANUEVA-Mendoza further stated there were seven IA's being housed in a trailer in
Canutillo, Texas. VILLANUEVA-Mendoza stated that the caretaker of the home, later
identified as Joanna WALTMAN, was involved in alien smuggling. VILLANUEVA-Mendoza
stated she had gone to WALTMAN's home the night before and saw the lAs housed inside.
VILLANUEVA-Mendoza identified a trailer located near the 1100 block of Spartan Drive in
Canutillo, Texas as the stash house. BPAs relayed the case information to Homeland Security
Investigations (I-IS!). HSI agents and BPAs responded to the trailer and encountered a subject
who freely admitted being a citizen of India without any documents allowing him to be or remain
in the U.S. legally. The IA was taken into custody by HSI agents.


HSI agents eventually took custody of VILLANUEVA-Mendoza and BANUELOS and
transported them to the HSI Office for processing. Upon arriving to the I-IS! Office,
VILLANUEVA-Mendoza saw the IA from India and told HSI agents that the subject was still at
the residence in Canutillo, Texas because he had not paid the smuggler fees. HSI agents
presented VILLANUEVA-Mendoza a photographic lineup of six females and asked if she knew
any of the females in the photographs. VILLANUEVA-Mendoza pointed at the picture of
Joanna WALTMAN and stated she was the subject who offered her $ 50 to help smuggle LAs
 and that WALTMAN was married to RENTERIA. VILLANUEVA-Mendoza then began giving
 HSI agents statements which were inconsistent with her original statements, but when confronted
 with the messages on her phone between her and RENTERIA about picking up lAs, she admitted
 she and BANUELOS, her husband, arrived to pick up lAs early in the morning.
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This Affidavit is being submitted for the limited purpose of establishing probable cause as set
forth herein, therefore, I have not included each and every fact known to me concerning this
investigation. I declare under penalty of perjury that the foregoing is true and correct to the best
of my knowledge.
